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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff(s),               CASE NUMBER: 05-80025
                                                 HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

            ORDER DENYING DEFENDANT’S MOTION FOR REHEARING

       This matter is before the Court on Defendant Timothy O’Reilly’s “Motion for

Rehearing on Motion to Suppress Oral Statements and for Evidentiary Hearing.” (Doc.

#314). On February 1, 2008, the Court entered an Order denying Defendant O’Reilly’s

(“O’Reilly”) “Motion to Suppress Oral Statements and for Evidentiary Hearing.” (Doc.

#310). O’Reilly asks the Court to reconsider its decision and grant an Evidentiary

Hearing.

       Eastern District of Michigan Local Rule 7.1(g)(3) provides for reconsideration if

the movant demonstrates a palpable defect by which the court and the parties have

been misled, and further demonstrates that correcting the defect will result in a different

disposition of the case. “A ‘palpable defect’ is a defect which is obvious, clear,

unmistakable, manifest, or plain.” Fleck v. Titan Tire Corp., 177 F.Supp.2d 605, 624

(E.D. Mich. 2001). “[T]he court will not grant motions for rehearing or reconsideration

that merely present the same issues ruled upon by the court, either expressly or by

reasonable implication.” L.R. 7.1(g)(3).


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       O’Reilly asserts the Court’s Order suffers palpable defects. He says the Court

improperly shifted the burden of proof to him to prove the statements to Barron Nix-Bey

(“Nix-Bey”) were involuntary. Among other cases, O’Reilly directs the Court to Lego v.

Twomey, 404 U.S. 477, 489 (1972) (“[T]he prosecution must prove at least by a

preponderance of the evidence that the confession was voluntary”); and United States

v. Cruse, 59 Fed.Appx. 72, 76 (6th Cir. Feb. 7, 2003) (same). O’Reilly argues the

Government did not meet its burden.

       The Court disagrees.

       After hearing the recording between Nix-Bey and O’Reilly, and determining the

history of interactions between the two, and the history of interactions between Nix-Bey

and federal agents, the Court satisfied itself that the Government sustained its burden to

prove that O’Reilly’s statements were freely and voluntarily made; the burden of proof

was not improperly shifted to O’Reilly. The burden of proof is not shifted by requiring a

defendant to be specific in his allegation of coercion. Beyond the allegation, O’Reilly

offered nothing to compel the Court to hold an Evidentiary Hearing. See United States

v. Schumaker, 1989 WL 63627 at *3-4 (9th Cir. June 9, 1989).

       O’Reilly also says 18 U.S.C. §3501 requires the Court to hold an Evidentiary

Hearing and determine whether his confession was voluntary.

       The Court agrees with O’Reilly that his statements qualify as a “confession”

under section 3501. See 18 U.S.C. §3501(e) (“the term ‘confession’ means any

confession of guilt of any criminal offense or any self-incriminating statement made or

given orally or in writing.”). The general rule is also as O’Reilly states: before a

confession is received in evidence, voluntariness must be determined outside the jury’s

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presence. See 18 U.S.C. §3501(a). However, O’Reilly fails to point out an important

exception:

       Nothing contained in [18 U.S.C. §3501] shall bar the admission in
       evidence of any confession made or given voluntarily by any person to
       any other person without interrogation by anyone, or at any time at which
       the person who made or gave such confession was not under arrest or
       other detention.

18 U.S.C. §3501(d) (emphasis added).

       The Court already determined O’Reilly’s confession was given voluntarily.

Assuming O’Reilly was “detained” when he made the confession, it is still admissible

under 18 U.S.C. §3501 because he was not being interrogated.

       O’Reilly further argues the Court incorrectly concluded Nix-Bey was not a

Government agent. But, this is not a palpable defect that will lead to a different

disposition of the case. The Court stated in its previous Order, “even presuming [Nix-

Bey] was an agent at the time he recorded O’Reilly’s statements, Miranda and Perkins

allow the admission of the recording.” See Order (Regarding Doc. #212).

       As to O’Reilly’s argument based on Anderson v. United States, 318 U.S. 350

(1943) and Fed. R. Crim. P. 5(a), he failed to identify a palpable defect in the Court’s

ruling; he merely asserts arguments the Court already considered and rejected.

       O’Reilly’s motion for rehearing is DENIED.

       IT IS ORDERED.

                                          S/Victoria A. Roberts
                                          Victoria A. Roberts
                                          United States District Judge
Dated: February 20, 2008




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 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 February 20, 2008.

 s/Carol A. Pinegar
 Deputy Clerk




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